                  RENDERED: AUGUST 23, 2024; 10:00 A.M.
                        NOT TO BE PUBLISHED

                Commonwealth of Kentucky
                           Court of Appeals
                              NO. 2022-CA-0796-MR


FACILITYONE TECHNOLOGIES, LLC                                         APPELLANT


                  APPEAL FROM JEFFERSON CIRCUIT COURT
v.               HONORABLE SUSAN SCHULTZ GIBSON, JUDGE
                          ACTION NO. 18-CI-002190


KINETIC PROPERTIES, INC.                                                APPELLEE



                              OPINION REVERSING
                               AND REMANDING

                                   ** ** ** ** **

BEFORE: ACREE, GOODWINE, AND LAMBERT, JUDGES.

ACREE, JUDGE: Appellant, Facility One Technologies (Facility One) challenges

the circuit court’s January 19, 2022 order granting summary judgment in favor of

Appellee, Kinetic Properties, Inc. (Kinetic), and denying summary judgment in

favor of Facility One, as well as the circuit court’s June 7, 2022 order denying

Facility One’s motion to alter, amend, or vacate. Facility One challenges the

circuit court’s application of the Kentucky Uniform Voidable Transactions Act,
KRS1 378A.005 et seq., to void an asset transfer from the now-defunct C2 Facility

Solutions (C2) to Facility One. We reverse and remand.

                                    BACKGROUND

                According to its website, Facility One began in 1999 when it was

incorporated as C2 Facility Solutions (C2). The website goes on to explain that in

2016, the company “relaunched” and began using its current name, Facility One

Technologies, upon its acquisition by an investment company.

                Despite this description on the Facility One website, the parties to this

appeal dispute the nature of the relationship between Facility One and C2. Kinetic

notes that in 2001, C2 filed to assume the name “FacilityONE” in Kentucky.

However, Facility One, the appellant in the present case, insists that the “relaunch”

in 2016 created a new company distinct from the former C2.

                In 2012, C2 – doing business as FacilityONE – agreed to lease

commercial property in Louisville from Kinetic for a seven-year term. Eventually,

C2 missed rent payments and defaulted on its rent obligation. On May 4, 2016,

Kinetic filed an action in Jefferson Circuit Court to recover the amount owed under

the lease agreement. That May 4, 2016 suit is not the same litigation from which

this appeal is taken.




1
    Kentucky Revised Statutes.

                                            -2-
             On August 1, 2016, Facility One Technologies, a Delaware limited

liability company was created, doing business here as Facility One Technologies,

LLC. C2 allowed the assumed name FacilityONE to expire within the month.

             That same month, Facility One and C2 entered an asset purchase

agreement whereby Facility One would acquire C2’s intellectual property and

service contracts. In lieu of payment, Facility One agreed to assume $1,071,571.00

of C2’s debt. However, over $7.6 million of C2’s debt remained unassumed.

             C2 vacated the office space it leased from Kinetic in September of

2016, paying none of the outstanding rent. C2 registered its principal office and

registered agent address as 730 West Main Street, Suite 201, Louisville, which is

identical to Facility One’s address. Facility One applied to assume the name

“FacilityONE” on September 21, 2016. C2 was dissolved on January 4, 2017,

having paid none of its outstanding debt to Kinetic.

             The circuit court granted summary judgment against C2 on July 6,

2017. Kinetic obtained a judgment of $52,935.23, plus interest, costs, and fees.

             Kinetic filed the underlying suit against both C2 and Facility One on

April 16, 2018. It sought additional damages for C2’s breach of the lease

agreement, including punitive damages. Kinetic also sought to void the asset

transfer from C2 to Facility One as a fraudulent attempt to avoid C2’s debt




                                        -3-
obligations under the Kentucky Uniform Voidable Transactions Act, KRS

378A.005 et seq.

             Kinetic filed a motion for default judgment against C2 on May 15,

2019, which the circuit court granted on August 7, 2019. The circuit court

awarded Kinetic $302,930.39, plus interest, costs, and fees. The circuit court also

voided the asset transfer and imposed a judgment lien on any assets attempted to

be transferred from C2 to Facility One.

             Kinetic filed a motion for summary judgment against both C2 and

Facility One on August 24, 2021. As the motion states, its purpose was “to void

the transfer of business assets from C2 to Facility One pursuant to KRS

378A.040.” Record (R.) at 167. Two days later, Facility One filed a motion for in

camera review, requesting that the circuit court review an unredacted version of

the asset purchase agreement; Facility One argued the unredacted agreement would

demonstrate that the transfer was not between insiders, but instead that Facility

One and C2 were separate entities which did not share ownership or management.

The circuit court never ruled on the motion for in camera review.

             Facility One filed its own motion for summary judgment on

September 20, 2021. Facility One argued it was a bona fide purchaser that

provided reasonably equivalent value in exchange for C2’s assets. At a September

27, 2021 pretrial conference, Facility One sought to introduce the unredacted asset


                                          -4-
purchase agreement into the record to demonstrate the absence of fraud in the

transaction. The court and parties agreed to introduction of a partially redacted

version of the agreement, with the investors’ identities redacted.

                The circuit court granted Kinetic’s summary judgment motion, denied

Facility One’s summary judgment motion, and imposed a judgment lien in a

memorandum and order entered January 19, 2022. Facility One filed a motion to

alter, amend, or vacate pursuant to CR2 59.05, and included the unredacted asset

purchase agreement as an exhibit.

                The circuit court denied Facility One’s motion on June 7, 2022. The

circuit court acknowledged that the unredacted agreement seemed to demonstrate

the transfer was not to an insider but determined the remaining evidence of record

still demonstrated that C2 and Facility One conspired to defraud Kinetic of

amounts owed at time of the asset transfer. Facility One now appeals.

                                STANDARD OF REVIEW

                We review a trial court’s summary judgment to confirm whether “the

pleadings, depositions, answers to interrogatories, stipulations, and admissions on

file, together with the affidavits, if any, show that there is no genuine issue as to

any material fact and that the moving party is entitled to a judgment as a matter of

law.” CR 56.03. The trial court is required to view the record “in a light most


2
    Kentucky Rules of Civil Procedure.

                                          -5-
favorable to the party opposing the motion for summary judgment and all doubts

are to be resolved in [its] favor.” Steelvest v. Scansteel Serv. Ctr., Inc., 807 S.W.2d

476, 480 (Ky. 1991) (citing Dossett v. New York Mining and Mfg. Co., 451 S.W.2d

843 (Ky. 1970)). This means that “[e]ven though a trial court may believe the

party opposing the motion may not succeed at trial, it should not render a summary

judgment if there is any issue of material fact.” Id. (citing Puckett v. Elsner, 303

S.W.2d 250 (Ky. 1957)). In other words, “summary judgment should be granted

only if it appears impossible that the nonmoving party will be able to produce

evidence at trial warranting a judgment in his favor.” Lewis v. B &amp; R Corp., 56

S.W.3d 432, 436 (Ky. App. 2001) (citing Steelvest, 807 S.W.2d at 480-82).

             “Impossible” is applied “in a practical sense, not in an absolute

sense.” Perkins v. Hausladen, 828 S.W.2d 652, 654 (Ky. 1992). And, “[b]ecause

summary judgment does not require findings of fact but only an examination of the

record to determine whether material issues of fact exist, we generally review the

grant of summary judgment without deference to either the trial court’s assessment

of the record or its legal conclusions.” Hammons v. Hammons, 327 S.W.3d 444,

448 (Ky. 2010) (citation omitted).

                                     ANALYSIS

             Facility One argues the circuit court erred in two respects when it

granted Kinetic’s summary judgment motion pursuant to the Kentucky Uniform


                                          -6-
Voidable Transactions Act. First, Facility One argues the circuit court erred when

it determined the circumstances surrounding Facility One and C2’s asset purchase

agreement demonstrated Facility One possessed actual intent to “hinder, delay, or

defraud” Kinetic pursuant to KRS 378A.040(1)(a). This statute makes a debtor’s

transfers or obligations voidable as to the creditor in certain circumstances. As the

statute provides:

             (1) A transfer made or obligation incurred by a debtor is
             voidable as to a creditor, whether the creditor’s claim
             arose before or after the transfer was made or the
             obligation was incurred, if the debtor made the transfer or
             incurred the obligation:

                    (a) With actual intent to hinder, delay, or defraud any
                    creditor of the debtor; or

                    (b) Without receiving a reasonably equivalent value in
                    exchange for the transfer or obligation, and the debtor:

                        1. Was engaged or was about to engage in a
                        business or a transaction for which the remaining
                        assets of the debtor were unreasonably small in
                        relation to the business or transaction; or

                        2. Intended to incur, or believed or reasonably
                        should have believed that the debtor would incur,
                        debts beyond the debtor’s ability to pay as they
                        became due.

             (2) In determining actual intent under subsection (1)(a) of
             this section, consideration may be given, among other
             factors, to whether:

                    (a) The transfer or obligation was to an insider;


                                            -7-
                 (b) The debtor retained possession or control of the
                 property transferred after the transfer;

                 (c) The transfer or obligation was disclosed or
                 concealed;

                 (d) Before the transfer was made or obligation was
                 incurred, the debtor had been sued or threatened with
                 suit;

                 (e) The transfer was of substantially all the debtor’s
                 assets;

                 (f) The debtor absconded;

                 (g) The debtor removed or concealed assets;

                 (h) The value of the consideration received by the
                 debtor was reasonably equivalent to the value of the
                 asset transferred or the amount of the obligation
                 incurred;

                 (i) The debtor was insolvent or became insolvent
                 shortly after the transfer was made or the obligation
                 was incurred;

                 (j) The transfer occurred shortly before or shortly after
                 a substantial debt was incurred; and

                 (k) The debtor transferred the essential assets of the
                 business to a lienor that transferred the assets to an
                 insider of the debtor.

KRS 378A.040(1)-(2). “A creditor making a claim for relief under subsection (1)

of this section has the burden of proving the elements of the claim for relief by a

preponderance of the evidence.” KRS 378A.040(3).




                                         -8-
             Applying the KRS 378A.040(2) factors, the circuit court found the

transfer of C2’s assets evinced actual intent to hinder, delay, or defraud Kinetic

and, therefore, summary judgment was appropriate. The circuit court specifically

noted that shortly after Facility One was formed, C2 allowed its assumed name

“FacilityONE” to expire; that same day, Facility One registered as its own assumed

name the now-available name “FacilityONE.” It noted that Kinetic had sued C2

prior to the asset transfer, that the transfer was of substantially all C2 assets, and

that C2 dissolved afterward. The circuit court also noted that Facility One’s own

website states that the company began in 1999 as C2 Facility Solutions. In its

January 19, 2022 summary judgment order, the circuit court states that “[t]he

interrelation between C2 and Facility One implicates indicates [sic] that the

transfer of assets from C2 to Facility One was very likely to an insider.”

             However, subsequent history of this case reveals that the circuit court

acknowledged the existence of a genuine issue of material fact related to the KRS

378A.040(2) factors. The circuit court, after reviewing the unredacted asset

purchase agreement submitted with Facility One’s CR 59.05 motion, stated in its

June 7, 2022 order that it no longer appeared as if the transfer was to an insider

and, therefore, that the KRS 378A.040(2)(a) factor was no longer met. Though it

acknowledged its mistake, the circuit court declined to vacate its summary

judgment ruling because several other of the KRS 378A.040(2) factors were still


                                           -9-
satisfied; the circuit court specifically listed KRS 378A.040(2)(d), (e), (h), and (i)

as applicable to the transfer.

             The circuit court’s acknowledgment that the transfer no longer

appeared to have been to an insider renders its entry of summary judgment

inappropriate. Once it discovered this fact upon review of the unredacted asset

purchase agreement, the circuit court weighed this factor against the other KRS

378A.040(2) factors and determined, on balance, the remaining factors supported

entry of summary judgment. Where the weight of evidence is central to the

ultimate determination to be made in a particular case, “summary judgment is an

inappropriate tool and trial is indispensable.” Ogden v. Emp’rs Fire Ins. Co., 503

S.W.2d 727, 729 (Ky. 1973) (citations omitted).

             By weighing the factors for and against a factual finding, the circuit

court effectively acknowledged the existence of a genuine issue of material fact:

whether the asset purchase agreement was made with actual intent to hinder, delay,

or defraud Kinetic as KRS 378.A.040(1)(a) contemplates. “Intent, where different

inferences can be drawn from undisputed facts, is a question of fact and not of

law.” Perry v. Motorists Mut. Ins. Co., 860 S.W.2d 762, 765 (Ky. 1993) (citing

James Graham Brown Found., Inc. v. St. Paul Fire &amp; Marine Ins. Co., 814 S.W.2d

273 (Ky. 1991)). Further, “[s]tate of mind issues such as intent and expectation are

generally inappropriate for determination at the summary judgment stage because


                                         -10-
their resolution depends on weighing all the evidence and drawing permissible but

not required inferences.” James Graham Brown Found., Inc., 814 S.W.2d at 280.

             Whether Appellants’ asset purchase agreement demonstrated an intent

to evade the unpaid rent obligation to Kinetic is a genuine issue, and the existence

or nonexistence of this intent is material to the outcome of this case. Because the

circuit court balanced factors for and against a finding of intent, its summary

judgment improperly took this issue out of the fact finder’s hands. We conclude

the circuit court improperly granted summary judgment in favor of Kinetic.

             Appellant’s remaining arguments are: (1) summary judgment was in

error because the circuit court did not apply the complete defense provided under

KRS 378A.080(1); and (2) the circuit court’s judgment is impossible to comply

with because it would be impossible to void the transfer of acquired assets which

are now completely intermingled with Facility One’s assets. Because we are

reversing the circuit court’s summary judgment, both issues are rendered moot.

                                  CONCLUSION

             Consistent with the foregoing, we reverse the Jefferson Circuit

Court’s January 19, 2022 summary judgment. We remand for further proceedings

consistent with this Opinion.



             ALL CONCUR.


                                        -11-
BRIEFS FOR APPELLANT:     BRIEF FOR APPELLEE:

Dennis D. Murrell         Michael A. Noll
M. Katherine Eschels      Louisville, Kentucky
Louisville, Kentucky
                          Steven A. Snow
                          Louisville, Kentucky




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